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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

SHELTON LITTLEFIELD                                                               PLAINTIFF


v.                             Case No. 4:19-cv-00027-LPR


UNITED STATES OF AMERICA                                                        DEFENDANT


                                        JUDGMENT

       Pursuant to the Memorandum of Decision filed on this date, it is considered, ordered, and

adjudged that judgment is entered in FAVOR of Plaintiff Shelton Littlefield and AGAINST

Defendant United States of America for damages in the amount of $72,000.


       IT IS SO ADJUDGED this 6th day of November 2020.



                                                   ________________________________
                                                   LEE P. RUDOFSKY
                                                   UNITED STATES DISTRICT JUDGE
